                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE



 UNITED STATES OF AMERICA                    )
                                             )
 v.                                          )       No. 3:14-CR-002
                                             )
 ADAM W. HOUCHINS                            )


                                    ORDER

             The government’s motion to dismiss indictment, as to defendant Adam W.

 Houchins only, [doc. 281] is GRANTED.



                                                    ENTER:



                                                                 s/ Leon Jordan
                                                    United States District Judge




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